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_ United States Bankruptcy Court for the:

Eastern District ot North Carolina
(State)

Case number (/f known): Chapter 11 O) Check if this is an

amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

 

1. Debtor’s name Covenant Solar Tech LLC

 

2. All other names debtor used d/b/a Covenant Solar & Roofing
in the last 8 years Covenant Solar & Roofing - North Carolina, LLC

 

Include any assumed names,

 

trade names, and doing business
as names

 

 

 

3. Debtor’s federal Employer _
Identification Number (EIN) $85 -33.3.39 3.5

4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business

3200 Gresham Lake Rd., #113

 

 

 

 

 

 

Number Street Number Street
P.O. Box
Raleigh NC 27615
City State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

 

 

 

 

Wake
County
Number Street
City State ZIP Code
5. Debtor’s website (URL) https://covenantsolar.com

 

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Debtor Covenant Solar Tech LLC

Case number (if known)

 

Name

6. Type of debtor

Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
C) Partnership (excluding LLP)
(J Other. Specify:

 

 

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor’ must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must
check the second sub-box.

Official Form 201

A. Check one:

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Railroad (as defined in 11 U.S.C. § 101(44))

() Stockbroker (as defined in 11 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

QO) Clearing Bank (as defined in 11 U.S.C. § 781(3))

Q None of the above

B. Check all that apply:

Q Tax-exempt entity (as described in 26 U.S.C. § 501)

( Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

LJ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts.gov/four-digit-national-association-naics-codes .

238 1

 

Check one:

LJ Chapter 7
CQ Chapter 9
Chapter 11. Check all that apply:

U) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

&] The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

Q) A plan is being filed with this petition.

LJ Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

U) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

() The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

_O) Chapter 12.

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Debtor Covenant Solar Tech LLC Case number (if known)

 

Name

filed by or against the debtor

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within the last 8 years? CI Yes. District When
MM/ DD/YYYY
If more than 2 cases, attach a

separate list. District When

MM/ DD/YYYY

Case number

Case number

 

10. Are any bankruptcy cases &) No

 

 

 

pending or being filed by a

business partner or an Cl Yes. Debtor

affiliate of the debtor? District

List all cases. If more than 1,

attach a separate list. Case number, if known

 

Relationship

When

MM / DD /YYYY

 

 

 

11. Why is the case filed in this Check all that apply:
district?

Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other

district.

QA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor ownorhave {&X] No
possession of any real

property or personal property

that needs immediate Why does the property need immediate attention? (Check all that apply.)

attention?

U Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

C) it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

CJ it needs to be physically secured or protected from the weather.

() It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related

assets or other options).

C) Other

 

Where is the property?

 

Number Street

 

 

City

Is the property insured?
) No

C) Yes. Insurance agency

State ZIP Code

 

Contact name

 

Phone

 

Ue Statistical and administrative information

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Debtor Covenant Solar Tech LLC

Name

Case number (if known).

 

13. Debtor’s estimation of Check one:

available funds

& Funds will be available for distribution to unsecured creditors.

C) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

1-49

L) 50-99
L) 100-199
U) 200-999

14. Estimated number of
creditors

(J $0-$50,000

U) $50,001-$100,000
UL $100,001-$500,000
UL) $500,001-$1 million

15. Estimated assets

LJ $0-$50,000

CJ $50,001-$100,000
U) $100,001-$500,000
UI $500,001-$1 million

ee Request for Relief, Declaration, and Signatures

16. Estimated liabilities

CJ 1,000-5,000
UJ 5,001-10,000
O) 10,001-25,000

$1,000,001-$10 million

() $10,000,001-$50 million
UO) $50,000,001-$100 million
() $100,000,001-$500 million

$1,000,001-$10 million

(J $10,000,001-$50 million
() $50,000,001-$100 million
©) $100,000,001-$500 million

O) 25,001-50,000
L) 50,001-100,000
() More than 100,000

UL) $500,000,001-$1 billion

LI $1,000,000,001-$10 billion
U) $10,000,000,001-$50 billion
CL) More than $50 billion

CL) $500,000,001-$1 billion

U) $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
U) More than $50 billion

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of

debtor petition.

| have been authorized to file this petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executedfon 04/1 1/2023

x JL ( eee

7 of authorized representative of debtor
itle_ Authorized Person

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Julian C. Hall Il

Printed name

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Debtor Covenant Solar Tech LLC Case number (iment

Nome

18. Signature of attorney elute. (on Bats 04/11/2023

\Gighature of attorney for debtor MM /OD /YYYY

L. Katie Greene

Pnnted name

_ Michael Best & Friedrich LLP

 

 

 

 

Firm name
nder Drive

Number Street

Wilmington NC 28403
City State ZIP Code

910.660.0931 Ikgreene@michaelbest.com
Contact phone Email address

AFH NC
Bar number State

 

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COVENANT SOLAR TECH LLC
RESOLUTION BY THE MANAGER
April 11, 2023

The undersigned, being the Manager (the “Manager”) of Covenant Solar Tech LLC, a
North Carolina limited liability company (“Covenant Solar”), hereby adopts the following
resolutions by written consent, in lieu of a meeting, pursuant to North Carolina law and Covenant
Solar’s operating agreement:

WHEREAS, the Manager deems it to be advisable and in the best interest of Covenant

Solar to file a voluntary petition with the United States Bankruptcy Court pursuant to Subchapter
V of Chapter 11 of Title 11 of the United States Code;

BE IT RESOLVED, that Julian C. Hall, II (the “Authorized Person”), is authorized and
directed by the Manager to execute and deliver all documents necessary to perfect the filing of a
voluntary Chapter 11 bankruptcy case on behalf of Covenant Solar;

BE IT FURTHER RESOLVED, that the Authorized Person is authorized and directed by
the Managers to appear in all Chapter 11 or related proceedings on behalf of Covenant Solar or
designate such appropriate person; and

BE IT FURTHER RESOLVED, that Covenant Solar is authorized and directed to employ
the law firm of Michael Best & Friedrich LLP to represent Covenant Solar as its bankruptcy as
general counsel, and to employ other attorneys and professionals as may be necessary for Covenant
Solar.

Dated April 11, 2023.
COVENANT SOLAR TECH LLC

fA poor

fan C. Hall, II
7 s: Manager
